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IN THE UNITED STATES DISTRICT COURT ‘/~/»'§i//

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FoR THE WESTERN DISTRICT oF TENNEsspE />,;,,.€
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UNITED sTATEs oF AMERICA, ) @S/
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Plaimirr, )
)
VS. ) No. 04-lOO9l-T-An
)
JUSTIN McCOMIC, )
)
Defendant. )

 

ORDER DENYING MOTION FOR RELEASE ON BOND PENDING APPEAL

 

Defendant has moved the court for an order allowing him to remain on bond pending
his appeal. The Government has responded to the motion. For the reasons set forth below,
Defendant’s motion is DENIED.

Section 3143(b) of Title 18 of the United States Code provides as follows:

b) Release or detention pending appeal by the defendant.--(l) Except as
provided in paragraph (2), the judicial officer shall order that a person who
has been found guilty of an offense and sentenced to a term of imprisonment,
and who has filed an appeal or a petition for a writ of certiorari, be detained,
unless the judicial officer finds--

(A) by clear and convincing evidence that the person is not likely to flee or
pose a danger to the safety of any other person or the community if released
under section 3142(b) or (c) of this title; and

(B) that the appeal is not for the purpose of delay and raises a substantial
question of law or fact likely to result in--

(i) reversal,

(ii) an order for a new trial,

(iii) a sentence that does not include a term of imprisonment, or

(iv) a reduced sentence to a term of imprisonment less than the total of the

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with Rule 55 andlor 32{b} FRCrP on ` ` ,

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time already served plus the expected duration of the appeal process.
The statute creates a presumption against release pending appeal United States v. Vance,
851 F.Zd 166, 168-69 (6th Cir.), cert denied, 438 U.S. 893 (1988).

ln United States v. Pollard, 778 F.2d 1177 (6th Cir. 1985), the Court of Appeals
looked at § 3143(b)(2) and found that a district court has to make two findings to justify
releasing a defendant on bond pending appeal: (1) that the convicted person will not flee or
pose a danger to the community if the court grants bail; Qid (2) that the appeal is not for the
purpose of delay and raises a substantial question of law or fact likely to result in reversal
or an order for a new trial. In M, the Court of Appeals adopted the definition of
substantial question set forth by the Eighth Circuit in United States v. Powell, 761 F.Zd 1227
(8th Cir. 1985). The Eighth Circuit held that an appeal raises a substantial question when the
appeal presents a "close question or one that can go either way," and that the question is "so
integral to the merits of the conviction that it is more probable than not that reversal or a new
trial will occur if the question is decided in the defendants favor." M, 761 F.Zd at 1233-
34; P_ol_la_r_d_, 778 F.Zd at 1182.

ln the present case, the court does not reach the issue of whether Defendant is likely
to flee or is a danger to others or to the community because Defendant has not presented any
facts or law to show that his appeal "raises a substantial question of law or fact likely to
result in reversal or an order for a new trial" or will result in a sentence that does not include

a term of imprisonment for Defendant or a term of imprisonment less than the time already

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served plus the expected duration of the appeal The mere possibility that Defendant could
prevail on appeal is not sufficient to satisfy the requirements of § 3143(b)(l).
Furthermore, Defendant is subject to the mandatory detention provision in 1 8 U.S.C.
§ 3143(b)(2) Which provides that a person found guilty of an offense under the Controlled
Substances Act for which a maximum term of imprisonment of ten years or more is
prescribed and who has filed an appeal or a petition for a writ of certiorari, be detained
Therefore, Defendant must meet not only the criteria for release established in § 3 l43(b)(l),
but must also demonstrate exceptional reasons why his detention is not appropriate 18
U.S.C. § 3145(c). §Qg United States v. Lanier, 120 F.3d 640, 642 (6th Cir.l997) (en banc)
(Nelson, J. concurring). Section 3145(0) provides as follows:
Appeal from a release or detention order.--An appeal from a release or
detention order, or from a decision denying revocation or amendment of such
an order, is governed by the provisions of section 1291 of title 28 and section
3731 of this title. The appeal shall be determined promptly A person subject
to detention pursuant to section 3143(a)(2) or (b)(2), and who meets the
conditions of release set forth in section 3143(a)(l) or (b)(l), may be ordered
released, under appropriate conditions, by the judicial officer, if it is clearly
shown that there are exceptional reasons why such person's detention
Would not be appropriate.
18 U.S.C. § 3145(c) (emphasis added).

Defendant has not demonstrated a “unique combination of circumstances giving rise

to situations that are out of the ordinary,” United States v. DiSomma, 951 F.2d 494, 497 (Z“d

 

Cir.1991), and, therefore, Defendant has not rebutted the presumption contained in this

section.

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Because Defendant has not met the statutory requirements for release pending his
appeal, Defendant’ s motion is DENIED.

lT lS SO ORDERED.

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JA S D. TODD
TED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 50 in
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David W. Camp

LAW OFFICES OF DAV]D CAl\/IP, PLLC
403 N. Parkvvay

Jackson, TN 38305

.1 erry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson, TN 38301

Honorable .1 ames Todd
US DISTRICT COURT

